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                                   4                               UNITED STATES DISTRICT COURT
                                   5                            NORTHERN DISTRICT OF CALIFORNIA
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                                   7     ANTOINE DESHAWN BARNES,                        Case No. 22-cv-00882-WHO (PR)

                                   8
                                                         Petitioner,
                                                                                        ORDER OF DISMISSAL
                                   9
                                                 v.

                                  10     PATRICK COVELLO,

                                  11
                                                         Respondent.

                                  12
Northern District of California
 United States District Court




                                  13          Petitioner Antoine Deshawn Barnes has not complied with the Clerk’s Notice or my
                                  14   order to pay the filing fee or file an application to proceed in forma pauperis (IFP). (Dkt.
                                  15   Nos. 3 and 4.) Accordingly, this federal habeas action is DISMISSED (without prejudice)
                                  16   for failing to comply with the Clerk’s Notice and my order and for failing to prosecute, see
                                  17   Federal Rule of Civil Procedure 41(b).
                                  18          Because this dismissal is without prejudice, Barnes may move to reopen. Any such
                                  19   motion must contain (i) a complete application to proceed IFP; or (ii) payment for the
                                  20   $5.00 filing fee. The motion also must have the words MOTION TO REOPEN written on
                                  21   the first page.
                                  22          The Clerk shall enter judgment in favor of respondent, and close the file.
                                  23          IT IS SO ORDERED.
                                  24          Dated: July 8, 2022
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                                                                                        WILLIAM H. ORRICK
                                  26                                                    United States District Judge
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